                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI

ATTICUS PARRIS,                                 §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §
                                                §     CIVIL ACTION NO. 5:19-CV-06034
TEXAS ROADHOUSE, INC., and                      §
TEXAS ROADHOUSE DELAWARE,                       §
LLC,                                            §
                                                §
       Defendants.                              §
                                                §
                                                §
                                                §

                       NOTICE OF DISMISSAL WITHOUT PREJUDICE
                            PURSUANT TO RULE 41(a)(1)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Atticus Parris hereby

files this Notice of Dismissal without prejudice. Plaintiff has not previously filed and sought

dismissal of her claims against Defendants Texas Roadhouse, Inc. and Texas Roadhouse

Delaware, LLC and thus, this dismissal is without prejudice.         This notice is being filed

voluntarily by Plaintiff Parris prior to Defendants Texas Roadhouse, Inc. and Texas Roadhouse

Delaware, LLC filing an answer or summary judgment.

Dated: April 3, 2019




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                           Respectfully submitted,

                           LANGDON & EMISON LLC
                           By: /s/ Brett Emison
                           Brett Emison, MO Bar #52072
                           Langdon & Emison LLC
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                           ATTORNEY FOR PLAINTIFF




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 3, 2019, I electronically filed the foregoing using the

CM/ECF system which will serve notification of such filing to the email address of all counsel of

record in this action.




                                                       By: /s/ Brett Emison
                                                       Brett Emison




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